              Case 3:11-cv-01333-AWT Document 15 Filed 09/20/11 Page 1 of 2



 1                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF CONNECTICUT
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 3
                                                    )
     LESLIE ADDY,                                   )
 4
               Plaintiff                            ) Case No.: 3:11-cv-001333 AWT
                                                    )
 5
     v                                              )
                                                    )
 6
     ELTMAN, ELTMAN & COOPER,                       )
               Defendant                            )
 7
                                                    ) September 20, 2011
                                                    )
 8

 9
     STIPULATION FOR DISMISSAL TO VOLUNTARILY DISMISS THIS ACTION WITH
10        PREJUDICE AGAINST DEFENDANT, ELTMAN, ELTMAN & COOPER

11
            Now comes the Plaintiff, Leslie Addy, by her attorney, Angela K. Troccoli, Esquire
12
     and Defendant, Eltman, Eltman & Cooper, hereby stipulate and agree that the action be
13

14
     Dismissed, with prejudice, each party to bear their own attorneys fees and with all rights of

15   appeal waived.

16

17   LESLIE ADDY,                                         ELTMAN, ELTMAN & COOPER,
     By her Attorney,                                     By their Attorney,
18

19
     /s/ Angela K. Troccoli                               _/s/ Kenneth S. Shapiro_______________
     Angela K. Troccoli, Esquire, Id# ct28597             Kenneth S. Shapiro, Esquire
20
     Kimmel & Silverman, PC                               Shapiro Law Office, PC
21   The New England Office                               PO Box 1050-33 Rock Hill Road-Suite 150
     60 Hartford Pike, PO Box 325                         Bala Cynwood, PA 19004
22   Dayville, CT 06241                                   kshapiro@shapirolawpc.com
     atroccoli@creditlaw.com
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              Case 3:11-cv-01333-AWT Document 15 Filed 09/20/11 Page 2 of 2



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                                FOR THE DISTRICT OF CONNECTICUT
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     LESLIE ADDY,                                     )
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               Plaintiff                              ) Case No.: 3:11-cv-001333 AWT
                                                      )
 5
     v                                                )
                                                      )
 6
     ELTMAN, ELTMAN & COOPER,                         )
               Defendant                              )
 7
                                                      )
                                                      )
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 9
                                      CERTIFICATE OF SERVICE
10
            I, Angela K. Troccoli, Esquire, hereby certify that I have this 20th day of
11
     September 2011, a copy of the foregoing was filed electronically and served by mail on anyone
12
     unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties by
13

14
     operation of the Court’s electronic filing system or by mail to anyone unable to accept electronic

15   filing as indicated on the Notice of Electronic Filing. Parties may access this filing through the

16   Court’s CM/ECF System.

17
     Kenneth S. Shapiro, Esquire
18   Shapiro Law Office, P.C.
     P.O. Box 1050
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     33 Rock Hill Road – Suite 150
     Bala Cynwood, PA 19004
20
     kshapiro@shapirolawpc.com
21

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23                                                          /s/ Angela K. Troccoli
                                                            Angela K. Troccoli, Esquire
24                                                          Id# ct28597
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